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                       IN THE UNITED STATES DISTRICT COURT
                        FOR THE WESTERN DISTRICT OF TEXAS
                                  WACO DIVISION


 COMMWORKS SOLUTIONS, LLC,

                                         Plaintiff,    Civil Action No.: 6:21-CV-00366-ADA

 v.                                                             Jury Trial Demanded

 COMCAST CABLE COMMUNICATIONS,
 LLC AND COMCAST CABLE
 COMMUNICATIONS MANAGEMENT,
 LLC,


                                     Defendants.


          AGREED PROTECTIVE ORDER REGARDING THE DISCLOSURE
                   AND USE OF DISCOVERY MATERIALS

       WHEREAS, Plaintiff CommWorks Solutions, LLC ( “Plaintiff”) and Defendants Comcast

Cable Communications, LLC and Comcast Cable Communications Management, LLC

(“Defendants” or “Comcast”) hereafter referred to as “the Parties,” believe that certain information

that is or will be encompassed by the Parties’ discovery demands involves the production or

disclosure of trade secrets, confidential business information, or other proprietary or protected

information;

       WHEREAS, the Parties seek a protective order limiting disclosure thereof in accordance with

Federal Rule of Civil Procedure 26(c):

       THEREFORE, it is hereby stipulated among the Parties and ORDERED that:

1.     Each Party may designate as confidential for protection under this Order, in whole or in part,

       any document, information or material that constitutes or includes, in whole or in part,

       confidential or proprietary information or trade secrets of the Party or a Third Party to whom


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      the Party reasonably believes it owes an obligation of confidentiality with respect to such

      document, information or material (“Protected Material”). Protected Material shall be

      designated by the Party producing it by affixing a legend or stamp on such document,

      information or material as follows: “CONFIDENTIAL.” The word “CONFIDENTIAL”

      shall be placed clearly on each page of the Protected Material (except deposition and hearing

      transcripts) for which such protection is sought. For deposition and hearing transcripts, the

      word “CONFIDENTIAL” shall be placed on the cover page of the transcript (if not already

      present on the cover page of the transcript when received from the court reporter) by each

      attorney receiving a copy of the transcript after that attorney receives notice of the

      designation of some or all of that transcript as “CONFIDENTIAL.”

2.    Any document produced before issuance of this Order, including pursuant to the Court’s

      Order Governing Proceedings - Patent Case, with the designation “Confidential” or the like

      shall receive the same treatment as if designated “CONFIDENTIAL” under this order and

      any such documents produced with the designation “Confidential - Outside Attorneys’

      Eyes Only” shall receive the same treatment as if designated “CONFIDENTIAL -

      OUTSIDE ATTORNEYS’ EYES ONLY” under this Order, unless and until such

      document is re-designated to have a different classification under this Order.

3.    With respect to documents, information or material designated “CONFIDENTIAL,

      “CONFIDENTIAL - ATTORNEYS’ EYES ONLY,” “CONFIDENTIAL – OUTSIDE

      ATTORNEYS’         EYES     ONLY,”      or   “CONFIDENTIAL          -   SOURCE      CODE”

      (“DESIGNATED MATERIAL”), 1 subject to the provisions herein and unless otherwise


1
  The term DESIGNATED MATERIAL is used throughout this Protective Order to refer to the
class of materials designated as “CONFIDENTIAL,” “CONFIDENTIAL - ATTORNEYS’ EYES
ONLY,” “CONFIDENTIAL – OUTSIDE ATTORNEYS’ EYES ONLY,” or “CONFIDENTIAL



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      stated, this Order governs, without limitation: (a) all documents, electronically stored

      information, and/or things as defined by the Federal Rules of Civil Procedure; (b) all

      pretrial, hearing or deposition testimony, or documents marked as exhibits or for

      identification in depositions and hearings; (c) pretrial pleadings, exhibits to pleadings and

      other court filings; (d) affidavits; and (e) stipulations. All copies, reproductions, extracts,

      digests and complete or partial summaries prepared from any DESIGNATED

      MATERIALS shall also be considered DESIGNATED MATERIAL and treated as such

      under this Order. A Party may additionally identify Protected Material as “PROTECTED

      CONSUMER DATA” if the Party reasonably believes such material, or any part of it, to

      be subject to federal, state, or foreign data protection and/or privacy laws, regulations, or

      obligations. Examples of such data protection laws include but are not limited to the

      California Consumer Privacy Act (“CCPA”); Directive 95/46/EC of the European

      Parliament and of the Counsel of 24 October 1995 on the Protection of Individuals with

      Regard to the Processing of Personal Data and on the Free Movement of Such Data, 1995

      O.J. (L281/31) (European Union personal information); Data Protection Act 1998 (c. 29)

      (United Kingdom personal information); the German Federal Data Protection Act

      (Germany personal information); the Belgian Law of December 8, 1992 on Privacy

      Protection in relation to the Processing of Personal Data (Belgium personal information);

      the Federal Data Protection Act of 1992 (Switzerland personal information); Personal

      Information Protection and Electronic Documents Act (PIPEDA), S.C. 2000, c. 5 (Canada

      personal information); The Federal Law on Protection of Personal Data held by Private

      Parties (published July 5, 2010) (Mexico personal information); and The Personal



- SOURCE CODE,” both individually and collectively.


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     Information Protection Act (Law No. 57 of 2003) (Japan personal information).

     PROTECTED CONSUMER DATA includes, but is not limited to, information that

     identifies, relates to, describes, is capable of being associated with, or could reasonably be

     linked, directly or indirectly, with a particular consumer or household, including online

     identifiers, Internet Protocol addresses, email addresses, browsing history, search history,

     geolocation data, and information regarding a consumer’s interaction with a website or

     online application or advertisement.

4.   A designation of Protected Material (i.e., “CONFIDENTIAL,” “CONFIDENTIAL -

     ATTORNEYS’ EYES ONLY,” “CONFIDENTIAL – OUTSIDE ATTORNEYS’ EYES

     ONLY,” or “CONFIDENTIAL - SOURCE CODE”) may be made at any time. Inadvertent

     or unintentional production of documents, information or material that has not been

     designated as DESIGNATED MATERIAL shall not be deemed a waiver in whole or in part

     of a claim for confidential treatment. Any party that inadvertently or unintentionally

     produces Protected Material without designating it as DESIGNATED MATERIAL may

     request destruction of that Protected Material by notifying the recipient(s), as soon as

     reasonably possible after the producing Party becomes aware of the inadvertent or

     unintentional disclosure, and providing replacement Protected Material that is properly

     designated. The recipient(s) shall then destroy all copies of the inadvertently or

     unintentionally produced Protected Materials and any documents, information or material

     derived from or based thereon.

5.   “CONFIDENTIAL” documents, information and material may be disclosed only to the

     following persons, except upon receipt of the prior written consent of the designating party,

     upon order of the Court, or as set forth in paragraph 15 herein:




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(a)   outside counsel of record in this Action for the Parties;

(b)   employees of such counsel assigned to and reasonably necessary to assist such
      counsel in the litigation of this Action;

(c)   in-house counsel for the Parties who either have responsibility for making decisions
      dealing directly with the litigation of this Action, or who are assisting outside
      counsel in the litigation of this Action;

(d)   up to and including three (3) designated representatives of each of the Parties to the
      extent reasonably necessary for the litigation of this Action, except that either party
      may in good faith request the other party’s consent to designate one or more
      additional representatives, the other party shall not unreasonably withhold such
      consent, and the requesting party may seek leave of Court to designate such
      additional representative(s) if the requesting party believes the other party has
      unreasonably withheld such consent. A Party must identify each designated
      representative to the other Party at least ten (10) days before access to the
      Protected Material is to be given to the designated representative to permit the
      other Party to object to and notify the designating Party in writing that it objects to
      disclosure of Protected Material to the designated representative. The Parties
      agree to promptly confer and use good faith to resolve any such objection. If the
      Parties are unable to resolve any objection, the objecting Party may file a motion
      with the Court within fifteen (15) days of receipt of the notice, or within such other
      time as the Parties may agree, seeking a protective order with respect to the proposed
      disclosure. The objecting Party shall have the burden of proving the need for a
      protective order. No disclosure shall occur until all such objections are resolved
      by agreement or Court order;

(e)   outside consultants or experts (i.e., not existing employees or affiliates of a Party or
      an affiliate of a Party) retained for the purpose of this litigation, provided that: (1)
      such consultants or experts are not presently employed by the Parties hereto for
      purposes other than this Action and are not otherwise involved in competitive
      decision-making on behalf of a Party; (2) such consultants or experts are not
      presently employed by a competitor of a Party; (3) before access is given, the
      consultant or expert has completed the Undertaking attached as Appendix A
      hereto and the same is served upon the producing Party with a current curriculum
      vitae of the consultant or expert, including a list of other cases in which the
      individual has provided a report or testified (at trial or deposition) and a list of
      companies that the individual has been employed by or provided consulting
      services pertaining to the field of invention of the patents-in-suit or the products
      accused of infringement within the last four years, at least ten (10) days before
      access to the Protected Material is to be given to that consultant or expert to object
      to and notify the receiving Party in writing that it objects to disclosure of Protected
      Material to the consultant or expert. The Parties agree to promptly confer and use
      good faith to resolve any such objection. If the Parties are unable to resolve any
      objection, the objecting Party may file a motion with the Court within fifteen (15)


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            days of the notice, or within such other time as the Parties may agree, seeking a
            protective order with respect to the proposed disclosure. The objecting Party shall
            have the burden of proving the need for a protective order. No disclosure shall
            occur until all such objections are resolved by agreement or Court order;

     (f)    independent litigation support services, including persons working for or as court
            reporters, graphics or design services, jury or trial consulting services, and
            photocopy, document imaging, and database services retained by counsel and
            reasonably necessary to assist counsel with the litigation of this Action;

     (g)    the Court and its personnel;

     (h)    Mediators and staff; and

     (i)    Any other person only with prior written consent of the Producing Party.

6.   A Party shall designate documents, information or material as “CONFIDENTIAL” only

     upon a good faith belief that the documents, information or material contains confidential

     or proprietary or protected information or trade secrets of the Party or a Third Party to

     whom the Party reasonably believes it owes an obligation of confidentiality with respect to

     such documents, information or material.

7.   Documents, information, or material produced pursuant to any discovery request in this

     Action, including but not limited to Protected Material designated as DESIGNATED

     MATERIAL but excluding public information, shall be used by the Parties only in the

     litigation of this Action and shall not be used for any other purpose. Any person or entity

     who obtains access to DESIGNATED MATERIAL or the contents thereof pursuant to this

     Order shall not make any copies, duplicates, extracts, summaries, or descriptions of such

     DESIGNATED MATERIAL or any portion thereof except as may be reasonably necessary

     in the litigation of this Action.     Any such copies, duplicates, extracts, summaries, or

     descriptions shall be classified DESIGNATED MATERIALS and subject to all of the

     terms and conditions of this Order. This Order does not limit the use of materials obtained



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     by a Party from a source other than the producing Party in a manner that does not violate

     this Order (e.g., from a public source).

8.   To the extent a producing Party believes that certain Protected Material qualifying to be

     designated CONFIDENTIAL is so sensitive that its dissemination deserves even further

     limitation, the producing Party may designate such Protected Material “CONFIDENTIAL

     - ATTORNEYS’ EYES ONLY,” or to the extent such Protected Material includes computer

     source code and/or live data (that is, data as it exists residing in a database or databases)

     (“Source Code Material”), the producing Party may designate such Protected Material as

     “CONFIDENTIAL - SOURCE CODE.” For clarity, and without limitation, Source Code

     Material can include computer code, configuration files, scripts, assembly, binaries,

     executable code, object code, source code, source code listings, comments for source code,

     source code revision histories, and descriptions of source code, object code listings,

     comments for object code, object code revision histories, and descriptions of object code,

     Verilog or other types of Hardware Description Language (HDL) or Register Transfer

     Level (RTL) files that describe the hardware design of any ASIC or other chip, and other

     electronic files used in network operations, comments for network operation files, and

     network operation revision histories. Nothing in this Order shall be construed as a

     representation or admission that Source Code Material, or that any particular Source Code

     Material, is properly discoverable in this Action or to obligate any Party to produce any

     Source Code Material.

9.   For Protected Material designated –CONFIDENTIAL - ATTORNEYS’ EYES ONLY,

     access to, and disclosure of, such Protected Material shall be limited to individuals listed

     in paragraphs 5(a-c) and (e-i); provided, however, that access by in-house counsel pursuant




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      to paragraph 5(c) be limited to in-house counsel who exercise no competitive decision-

      making authority on behalf of the client.

10.   For Protected Material designated CONFIDENTIAL - OUTSIDE ATTORNEYS’ EYES

      ONLY, access to, and disclosure of, such Protected Material shall be limited to individuals

      listed in paragraphs 5(a–b) and (e–i).

11.   For Protected Material designated CONFIDENTIAL - SOURCE CODE, the following

      additional restrictions apply:

            (a) Access to a Party’s Source Code Material shall be provided only on “stand-alone”
                computer(s) (that is, the computer may not be linked to any network, including a
                local area network (“LAN”), an intranet or the Internet). The stand-alone
                computer(s) will be configured to prevent additional peripheral devices (e.g., USB
                thumb drives) from being connected to them. Additionally, except as provided in
                paragraph 8(m) below, the stand-alone computer(s) may be located at the offices
                of the producing Party’s outside counsel or, at the producing Party’s option, a third
                party facility (“Review Facility”) Except for the Notetaking Computer, as
                specified in Section 11(h), no other recording material or electronic devices
                (including without limitation mobile telephones) are allowed in the room with the
                stand-alone computer(s). The receiving Party shall not attempt to use any
                peripheral device of any kind (other than the keyboard, mouse, and monitor that
                may be provided by the producing Party) with the stand-alone computer(s), nor
                shall the receiving Party attempt to install any software on the stand-alone
                computer(s). All reviewers must be identified to the producing Party at least 5
                days in advance of the review and must sign a log and show identification before
                entering the room with the stand-alone computer(s). The room may be visually
                monitored at all times during any review, but only to ensure that there is no
                unauthorized recording, copying, or transmission of the source code;

      (b)      The receiving Party shall give at least 10-days notice of an intention to begin
               reviewing Source Code Material and at least 5-days notice of any subsequent
               review. The receiving Party shall make reasonable efforts to restrict its requests
               for such access to the stand-alone computer(s) to normal business hours, which for
               purposes of this paragraph shall be 8:30 a.m. through 5:30 p.m. However, upon
               reasonable notice from the receiving Party, the producing Party shall make
               reasonable efforts to accommodate the receiving Party’s request for access to the
               stand-alone computer(s) outside of normal business hours. The Parties agree to
               cooperate in good faith such that maintaining the producing Party’s Source Code
               Material at the offices of its outside counsel or Review Facility shall not
               unreasonably hinder the receiving Party’s ability to efficiently and effectively
               conduct the prosecution or defense of this Action;


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       (c)     The producing Party shall provide the receiving Party with information explaining
               how to start, log on to, and operate the stand-alone computer(s) in order to access the
               produced Source Code Material on the stand-alone computer(s);

       (d)     Access to Protected Material designated CONFIDENTIAL - SOURCE CODE
               shall be limited to outside counsel and up to three (3) outside consultants or
               experts 2 (i.e., not existing employees or affiliates of a Party or an affiliate of a
               Party) retained for the purpose of this litigation and approved to access such
               Protected Materials pursuant to paragraph 5(e) above. Access to and review of
               Source Code Material shall be strictly for the purpose of investigating the claims
               and defenses at issue in this case. No person shall review or analyze any such
               material for purposes unrelated to this case, nor may any person use any knowledge
               gained as a result of reviewing such material in this case in any other pending or
               future dispute, proceeding, or litigation. A receiving Party may include excerpts of
               Source Code Material in a pleading, exhibit, expert report, discovery document,
               deposition transcript, or other Court document (collectively, “Source Code
               Documents”), provided that the Source Code Documents are appropriately marked
               under this Order, restricted to those who are entitled to have access to them as
               specified herein, and, if filed with the Court, filed under seal in accordance with
               the Court’s rules, procedures and orders. All Source Code Material used during a
               deposition or marked as an exhibit at a deposition will be retrieved by the Party
               conducting the deposition at the end of each day. At no time, will any Source Code
               Material be given to or left with the court reporter. Rather, the deposition record
               will identify the exhibit by its production numbers; In the event of a remote
               deposition, at least 48 hours in advance of the deposition, the receiving Party will
               identify materials designated CONFIDENTIAL - SOURCE CODE that it intends
               to mark as an exhibit and the Producing Party will be responsible for making a
               copy available to the deponent.

       (e)     To the extent portions of Source Code Material are quoted in a Source Code
               Document, either (1) the entire Source Code Document will be stamped and treated
               as CONFIDENTIAL - SOURCE CODE or (2) those pages containing quoted
               Source Code Material will be separately stamped and treated as CONFIDENTIAL
               - SOURCE CODE;

       (f)     Except as set forth in paragraph 11(m) below, no electronic copies of Source Code
               Material shall be made without prior written consent of the producing Party, except
               as necessary to create documents which, pursuant to the Court’s rules, procedures

2
 For the purposes of this paragraph, an outside consultant or expert is defined to include the outside
consultant’s or expert’s direct reports and other support personnel, such that the disclosure to a
consultant or expert who employs others within his or her firm to help in his or her analysis shall
count as a disclosure to a single consultant or expert for purposes of Paragraph 10(d). Any such
personnel assisting with the analysis of Source Code Material shall be disclosed pursuant to
Paragraph 5(e).


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         and order, must be filed or served electronically To the extent the receiving Party
         serves electronic files containing Source Code Material, the receiving Party must
         use commercially reasonable encryption software including password protection
         for the transmission of such files;

(g)      The receiving Party shall be permitted to have printed by the producing Party
         portions of Source Code Material reasonably anticipated by the receiving Party to
         be necessary for use in, and preparation for, court filings and proceedings,
         infringement or invalidity contentions, expert reports, and depositions of persons
         or entities permitted access to CONFIDENTIAL - SOURCE CODE information
         of the producing Party, and such other uses to which the Parties may agree or that
         the Court may order. The receiving Party shall not print Source Code Material in
         order to review blocks of Source Code Material elsewhere in the first instance, i.e.,
         as an alternative to reviewing that Source Code Material electronically on the
         stand-alone computer(s), as the Parties acknowledge and agree that the purpose of
         the protections herein would be frustrated by printing portions of code for review
         and analysis elsewhere, and that printing is permitted solely to enable use of Source
         Code Materials in filings, depositions, proceedings, contentions, expert reports,
         and related drafts and correspondence. The receiving Party may request a
         reasonable number of printouts of Source Code Material, all of which shall be
         designated and clearly labeled “CONFIDENTIAL - SOURCE CODE.” Requested
         printouts will be provided to the receiving Party within 5 buiness days after receipt
         of the request. In considering what is reasonable, the receiving Party shall not, in
         general, ask that more than 200 pages—with a page being one that has at least 35
         lines of code—of Source Code Material be printed, with no more than 10
         consecutive pages of any material. Further, the receiving Party’s counsel may
         make no more than three additional paper copies of such printouts (not including
         copies attached to court filings) and each shall be designated and clearly labeled
         “CONFIDENTIAL - SOURCE CODE.” In the event that a producing Party
         believes that a particular printing request is unreasonable, the producing Party and
         receiving Party shall meet and confer in good faith to attempt to resolve this dispute
         without the Court’s involvement. If they cannot resolve the issue, either Party may
         seek an order from the Court;

      (h) The outside counsel and outside consultants or experts of a receiving Party shall
          be entitled to take notes (electronic or non-electronic) relating to the Source Code
          Material but may not copy any lines of the Source Code Material into such notes.
          To the extent the receiving Party desires to take notes electronically, the Producing
          Party shall provide a note-taking computer (e.g., a computer, which is distinct from
          the standalone computer, that is not linked to any network, including a local area
          network (“LAN”), an intranet or the Internet, and has image making functionality
          of any type disabled, including but not limited to camera or video functionality)
          (“note-taking computer”) with a current, widely used word processing program in
          the secure location for the receiving Party’s use in taking such notes. The “note-
          taking computer” shall be used for the sole purpose of note-taking and shall be
          retained by the producing Party. Such notes shall be downloaded to a removable


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     disk or drive for the receiving Party to retain, and the computer cleared of such
     notes. The removable disk or drive to which the notes are downloaded shall employ
     AES-256 encryption, protected by at least an 8-character password. The note-
     taking computer shall have no features which would hinder the complete clearing
     of the receiving Party’s notes after such notes have been downloaded.

            The receiving Party shall maintain any notes removed from the secure
            location in the encrypted form described above at all times when storing or
            transporting them. The receiving Party will move the removable disk or
            drive to which the notes are downloaded only by hand and shall not copy
            the materials from the removable disk or drive onto a computer network or
            onto a computer that is connected to a computer network. These materials
            must be deleted from any computer prior to connecting that computer to a
            computer network.

     Any such notes shall not include copies or reproductions of portions of the source
     code; however, the notes may contain filenames, directory names, module names,
     class names, parameter names, variable names, function names, method names, or
     procedure names. No copies of all or any portion of the source code may leave the
     room in which the source code is inspected except as otherwise provided herein.
     Further, no other written or electronic record of the source code is permitted except
     as otherwise provided herein. No notes shall be made or stored on the inspection
     computer, or left behind at the site where the inspection computer is made
     available, and any such notes shall be deleted or destroyed by the producing Party,
     without reviewing the substance of the notes, upon discovery.

            Notwithstanding the foregoing, any such notes shall be stamped and treated
            as “CONFIDENTIAL - SOURCE CODE.” The receiving Party may print
            notes off of the USB storage device and may make backup copies of the
            removable disk or drive to which the notes are downloaded on a similarly
            encrypted storage device. Any notes relating to Source Code Material will
            be designated and treated as “CONFIDENTIAL - SOURCE CODE.”

     If an individual inspecting the producing Party’s Source Code Material seeks to
     take notes on hardcopy paper, all such notes will be taken on bound (spiral or other
     type of permanently bound) notebooks. No loose paper or other paper that can be
     used in a printer may be brought into the room housing the stand-alone
     computer(s). In addition, outside counsel and outside consultants or experts of a
     receiving Party may not bring into the room housing the stand-alone computer(s)
     any recording devices, including, but not limited to, laptops or other portable
     computers; audio, image or video recorders; or wireless devices with data
     transmission capabilities or recording capabilities (e.g., cameras), unless agreed
     otherwise by the Parties in writing. Outside counsel and outside consultants or
     experts of a receiving Party may not leave work product or other materials to which
     the receiving Party claims privilege in the room used to inspect the producing
     Party’s Source Code Material or on a producing Party’s stand-alone computer(s).


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      The producing Party shall not monitor or review the receiving Party’s reviewer’s
      notes;

(i)   At the completion of the requesting Party’s review, the producing Party will Bates
      number and provide any printed paper copies to the requesting Party within five
      (5) business days of the requesting Party’s request, unless otherwise agreed or the
      producing Party objects to the request. The producing Party may object to any
      portion of any printed Source Code Material as not relevant to any claim or defense
      in this litigation. The parties shall meet and confer to resolve any such dispute
      within five (5) business days of the receiving Party's Source Code Material print
      request. If the Parties are unable to resolve such a dispute informally within five
      (5) business days of having met and conferred, the receiving Party may apply to
      the Court for relief at any time thereafter. The receiving Party shall maintain a
      record of any individual who has inspected any portion of the Source Code
      Material in electronic or paper form;

(j)   Should such printouts or photocopies be transferred back to electronic media, such
      media shall be labeled “CONFIDENTIAL - SOURCE CODE” and shall continue
      to be treated as such;

(k)   All paper copies shall be securely destroyed if they are no longer necessary in the
      Action (e.g., extra copies at the conclusion of a deposition). Copies of Source
      Code Material that are marked as deposition exhibits shall not be provided to the
      court reporter or attached to deposition transcripts; rather, the deposition record
      will identify the exhibit by its production numbers;

(l)   If the receiving Party’s outside counsel, consultants, or experts obtain printouts or
      photocopies of Source Code Material, the receiving Party shall ensure that such
      outside counsel, consultants, or experts keep the printouts or photocopies in a
      secured locked area in the offices of such outside counsel, consultants, or expert.
      The receiving Party may also temporarily keep the printouts or photocopies at: (i) the
      Court for any proceedings(s) relating to the Source Code Material, for the dates
      associated with the proceeding(s); (ii) the sites where any deposition(s) relating to
      the Source Code Material are taken, for the dates associated with the deposition(s);
      and (iii) any intermediate location reasonably necessary to transport the printouts or
      photocopies (e.g., a hotel prior to a Court proceeding or deposition);

(m)   A producing Party’s Source Code Material may only be transported by the receiving
      Party at the direction of a person authorized under paragraph 11(d) above to another
      person authorized under paragraph 10(d) above, on paper or removable electronic
      media (e.g., a DVD, CD-ROM, or flash memory “stick”) via hand carry, Federal
      Express or other similarly reliable courier. Source Code Material may not be
      transported or transmitted electronically over a network of any kind, including a
      LAN, an intranet, or the Internet. Source Code Material may only be transported
      electronically for the purpose of Court proceeding(s) or deposition(s) as set forth in


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             paragraph 11(l) above and is at all times subject to the transport restrictions set forth
             herein. But, for those purposes only, the Source Code Materials may be loaded onto
             a stand-alone computer.

      (n)    Access to Source Code Material shall not be affected by, and will continue past,
             the conclusion of fact discovery. The producing Party shall continue to make
             source code available to the receiving Party’s counsel and experts defined in
             Section 5 (a), (b), and (e) as part of expert discovery up to the date opening expert
             reports are due under the applicable scheduling order. In addition, the producing
             Party shall make source code available to the receiving Party’s counsel and experts
             defined in Section 5 (a), (b), and (e) for one additional review session after the date
             rebuttal expert reports are due and before the receiving Party’s technical expert or
             experts are deposed.

12.   For Protected Material designated CONFIDENTIAL - PROTECTED CONSUMER

      DATA, such Protected Material shall be treated as if designated as CONFIDENTIAL -

      OUTSIDE ATTORNEYS’ EYES ONLY with the further restriction that it shall be

      handled by counsel for the receiving Party with the highest care, including but not limited

      to the procedures that they would employ to protect their own personally identifiable

      information; and the documents produced shall be stored and secured in a manner designed

      to prevent access to persons other than the individuals permitted by this Order, and that all

      such information stored in electronic form shall be password protected.

13.   Any attorney representing the Plaintiff, whether in-house or outside counsel, and any

      person associated with the Plaintiff and permitted to receive the Defendants’ Protected

      Material that is designated CONFIDENTIAL - ATTORNEYS’ EYES ONLY,

      CONFIDENTIAL - OUTSIDE ATTORNEYS EYES ONLY, and/or CONFIDENTIAL

      - SOURCE CODE (collectively “HIGHLY SENSITIVE MATERIAL”), who obtains,

      receives, has access to, or otherwise learns, in whole or in part, the Defendants’ HIGHLY

      SENSITIVE MATERIAL under this Order shall not prepare, prosecute, supervise, or

      assist in the preparation or prosecution of any patent application (collectively “Prosecute”)



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      pertaining to the field of the invention of the patents-in-suit during the pendency of this

      Action and for one year after its conclusion, including any appeals. The field of invention

      of the patents-in-suit includes (1) communications systems that operate in association with

      a globally accessible computer network such and the Internet; (2) methods and devices for

      detecting priority of data frames in a network; (3) wireless connections between a wireless

      device and a network; (4) methods for creating models for routing traffic across networks

      and between networks; (5) data recovery techniques for use in mobile networks; and (6)

      systems and methods for enhanced phone-based collaboration. To ensure compliance with

      the purpose of this provision, the Plaintiff shall create an “Ethical Wall” between those

      persons with access to HIGHLY SENSITIVE MATERIAL and any individuals who

      prepare, prosecute, supervise or assist in the preparation or prosecution of any patent

      application pertaining to the field of invention of the patents-in-suit. To avoid any doubt,

      “Prosecute” as used in this paragraph does not include representing a Party for secretarial

      purposes, such as, for example, recording assignments and paying maintenance fees.

      Further, “Prosecute” as used in this paragraph does not include representing a Party in

      Inter Partes Review (IPR) or Post-Grant Review (PGR) proceedings provided that no

      amendment to claim scope is sought, through a motion to amend or otherwise, in that

      proceeding.

14.   Nothing in this Order shall require production of documents, information or other material

      that a Party contends is protected from disclosure by the attorney-client privilege, the work

      product doctrine, or other privilege, doctrine, or immunity. If documents, information or

      other material subject to a claim of attorney-client privilege, work product doctrine, or

      other privilege, doctrine, or immunity is inadvertently or unintentionally produced, such




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      production shall in no way prejudice or otherwise constitute a waiver of, or estoppel as to,

      any such privilege, doctrine, or immunity. Any Party that inadvertently or unintentionally

      produces documents, information or other material it reasonably believes are protected

      under the attorney-client privilege, work product doctrine, or other privilege, doctrine, or

      immunity may obtain the return of such documents, information or other material by

      promptly notifying the recipient(s) and providing a privilege log for the inadvertently or

      unintentionally produced documents, information or other material. The recipient(s) shall

      gather and return all copies of such documents, information or other material to the

      producing Party, except for any pages containing privileged or otherwise protected

      markings by the recipient(s), which pages shall instead be destroyed and certified as such

      to the producing Party. In the case of such returned production, the producing Party shall

      provide a privilege log identifying such documents or information within five (5) business

      days of its original notice to the receiving Party. No use shall be made of such documents

      or information during depositions, through motion practice, or at trial, except that the

      receiving Party may move the Court for an Order compelling production of any such

      documents or information in accordance with the Federal Rules of Civil Procedure and

      may cite and submit the privilege log in support of such a motion.

15.   There shall be no disclosure of any DESIGNATED MATERIAL by any person authorized

      to have access thereto to any person who is not authorized for such access under this Order.

      The Parties are hereby ORDERED to safeguard all such documents, information and

      material to protect against disclosure to any unauthorized persons or entities. In the event

      of any accidental or inadvertent disclosure of DESIGNATED MATERIAL other than in a

      manner authorized by this Order, counsel for the party responsible for the disclosure shall




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      immediately notify opposing counsel of the pertinent facts and make every effort to prevent

      further unauthorized disclosure including retrieving all copies of the DESIGNATED

      MATERIAL from the recipient(s) thereof, securing the agreement of the recipients not to

      further disseminate the DESIGNATED MATERIAL in any form, and sending a copy of

      this Order and the Undertaking attached as Appendix A and making a good faith effort to

      get the recipient(s) to sign the Undertaking. Compliance with the foregoing shall not

      prevent a party from seeking further relief from the Court.

16.   Nothing contained herein shall be construed to prejudice any Party’s right to use any

      DESIGNATED MATERIAL in taking testimony at any deposition or hearing provided

      that the DESIGNATED MATERIAL is only disclosed to a person(s) who is: (i) eligible to

      have access to the DESIGNATED MATERIAL by virtue of his or her employment with

      the designating Party, (ii) identified in the DESIGNATED MATERIAL as an author,

      addressee, or copy recipient of such information, (iii) although not identified as an author,

      addressee, or copy recipient of such DESIGNATED MATERIAL, has, in the ordinary

      course of business, seen such DESIGNATED MATERIAL, (iv) a current or former officer,

      director or employee of the producing Party or a current or former officer, director or

      employee of a company affiliated with the producing Party; (v) counsel for a Party,

      including outside counsel and in-house counsel (subject to paragraph 7 of this Order); (vi)

      an independent contractor, consultant, and/or expert retained for the purpose of this

      litigation (subject to Paragraph 5(e) of this Order); (vii) court reporters and videographers;

      (viii) the Court; or (ix) other persons entitled hereunder to access to DESIGNATED

      MATERIAL. DESIGNATED MATERIAL shall not be disclosed to any other persons




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      unless prior authorization is obtained from counsel representing the producing Party or

      from the Court.

17.   Parties may, at the deposition or hearing or within thirty (30) days after receipt of a

      deposition or hearing transcript, designate the deposition or hearing transcript or any

      portion thereof as “CONFIDENTIAL,” “CONFIDENTIAL - ATTORNEY’ EYES

      ONLY,”     “CONFIDENTIAL          -   OUTSIDE       ATTORNEYS’         EYES     ONLY,”      or

      “CONFIDENTIAL - SOURCE CODE” pursuant to this Order. Access to the deposition or

      hearing transcript so designated shall be limited in accordance with the terms of this Order.

      Until expiration of the 30-day period, the entire deposition or hearing transcript shall be

      treated as CONFIDENTIAL - OUTSIDE ATTORNEYS’ EYES ONLY.

18.   Any DESIGNATED MATERIAL that is filed with the Court shall be filed under seal and

      shall remain under seal until further order of the Court. Filing or lodging Protected Material

      under seal shall be made in compliance with the Court’s Standing Order Regarding Filing

      Documents Under Seal and Redacted Public Versions issued on October 13, 2021, and any

      updated or modified version of the Standing order. The filing Party shall be responsible

      for informing the Clerk of the Court that the filing should be sealed and for placing the

      legend “FILED UNDER SEAL PURSUANT TO PROTECTIVE ORDER” above the

      caption and conspicuously on each page of the filing. Exhibits to a filing shall conform to

      the labeling requirements set forth in this Order. If a pretrial pleading filed with the Court,

      or an exhibit thereto, discloses or relies on DESIGNATED MATERIAL, such confidential

      portions shall be redacted to the extent necessary and the pleading or exhibit filed publicly

      with the Court.




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19.   The Order applies to pretrial discovery. Nothing in this Order shall be deemed to prevent

      the Parties from introducing any DESIGNATED MATERIAL into evidence at the trial of

      this Action, or from using any information contained in DESIGNATED MATERIAL at

      the trial of this Action, subject to any pretrial order issued by this Court. Where

      DESIGNATED MATERIAL is used at trial, it shall be subject to a separate agreement or

      order. The Parties agree to work in good faith to address confidentiality issues in such an

      agreement or order at the pretrial stage of this Action.

20.   A Party may request in writing to the other Party that the designation given to any

      DESIGNATED MATERIAL be modified or withdrawn and the basis for its request. If the

      designating Party does not agree to redesignation within seven (7) business days of receipt

      of the written request, the requesting Party may apply to the Court for relief. Upon any

      such application to the Court, the burden shall be on the designating Party to show why its

      classification is proper. Such application shall be treated procedurally as a motion to

      compel pursuant to Federal Rule of Civil Procedure 37, subject to the Rule’s provisions

      relating to sanctions. In making such application, the requirements of the Federal Rules of

      Civil Procedure and the Local Rules of the Court shall be met. Frivolous designations as

      well as frivolous challenges and those made for an improper purpose (e.g., to harass or

      impose unnecessary expense or burden on another party) may expose the challenging party

      to sanctions. Pending the Court’s determination of the application, the designation of the

      designating Party shall be maintained.

21.   Each outside consultant or expert to whom DESIGNATED MATERIAL is disclosed in

      accordance with the terms of this Order shall be advised by counsel of the terms of this

      Order, shall be informed that he or she is subject to the terms and conditions of this Order,




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      and shall sign an acknowledgment that he or she has received a copy of, has read, and has

      agreed to be bound by this Order. A copy of the acknowledgment form is attached as

      Appendix A.

22.      Discovery from experts and consultants shall be subject to the following limitations:

         (a) Absent good cause, drafts of reports of testifying experts, and reports and other

             written materials, including drafts, of consulting experts, shall not be discoverable,

             including information protected by Federal Rule of Civil Procedure 26.

         (b) Drafts of reports and materials exempt from discovery under the foregoing

             Paragraph shall be treated as attorney work product for the purposes of this case

             and Protective Order.

         (c) Testifying experts shall not be subject to discovery with respect to any draft of his

             or her report(s) in this case. Draft reports, notes, or outlines for draft reports

             developed and drafted by the testifying expert and/or his or her staff are also exempt

             from discovery.

         (d) Discovery of materials provided to testifying experts shall be governed by the

             provisions of Federal Rule of Civil Procedure 26.

         (e) No conversations or e-mail communications between counsel and any testifying

             expert will be subject to discovery unless the conversations or e-mail

             communications are relied upon by such experts in formulating opinions or

             asserting facts that are presented in reports or trial or deposition testimony in this

             case.




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         (f) Materials, communications, and other information exempt from discovery under

             the foregoing Paragraphs 22(a)–(e) shall be treated as attorney-work product for the

             purposes of this litigation and Order.

23.   To the extent that any discovery is taken of persons who are not Parties to this Action

      (“Third Parties”) and in the event that such Third Parties contended the discovery sought

      involves trade secrets, confidential business information, or other proprietary information,

      then such Third Parties may agree to be bound by this Order and provide documents and

      information under the terms of this Order. A Third Party’s use of this Order to protect its

      DESIGNATED MATERIAL does not entitle that Third Party access to the DESIGNATED

      MATERIAL produced by any Party in this case.

24.   To the extent that discovery or testimony is taken of Third Parties, the Third Parties may

      designate as “CONFIDENTIAL,” “CONFIDENTIAL - ATTORNEYS’ EYES ONLY,”

      “CONFIDENTIAL - OUTSIDE ATTORNEYS’ EYES ONLY,” or “CONFIDENTIAL -

      SOURCE CODE” any documents, information or other material, in whole or in part,

      produced or given by such Third Parties. The Third Parties shall have seven (7) business

      days after production of such documents, information or other materials to make such a

      designation. Until that time period lapses or until such a designation has been made,

      whichever occurs sooner, all documents, information or other material so produced or

      given shall be treated as “CONFIDENTIAL – OUTSIDE ATTORNEYS’ EYES ONLY”

      in accordance with this Order.

25.   Within thirty (30) days of final termination of this Action, including any appeals, all

      DESIGNATED MATERIAL, including all copies, duplicates, abstracts, indexes,

      summaries, descriptions, and excerpts or extracts thereof (excluding excerpts or extracts




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      incorporated into any privileged memoranda of the Parties and materials which have been

      admitted into evidence in this Action) shall be destroyed. No copies shall be retained by a

      receiving Party or other individuals retained to assist them in this litigation, except that

      counsel may retain archival copies of all pleadings, motion papers, trial, deposition, and

      hearing transcripts, legal memoranda, correspondence, deposition and trial exhibits, expert

      reports, attorney work product, and consultant and expert work product, even if such

      materials contain Protected Material. Any such archival copies that contain or constitute

      Protected Material remain subject to this Order. The language contained in this paragraph

      shall not preclude counsel from retaining documents and/or communications constituting

      attorney work product as defined by applicable law, or from retaining one copy of all such

      attorney work product documents as part of a permanent litigation file that is otherwise

      subject to the confidentiality restrictions set forth herein. The receiving Party shall confirm

      the destruction in writing to the producing Party.

26.   The failure to designate documents, information or material in accordance with this Order

      and the failure to object to a designation at a given time shall not preclude the filing of a

      motion at a later date seeking to impose such designation or challenging the propriety

      thereof. The entry of this Order and/or the production of documents, information and

      material hereunder shall in no way constitute a waiver of any objection to the furnishing

      thereof, all such objections being hereby preserved.

27.   Any Party knowing or believing that any other Party is in violation of or intends to violate

      this Order and has raised the question of violation or potential violation with the opposing

      Party and has been unable to resolve the matter by agreement may move the Court for such

      relief as may be appropriate in the circumstances. Pending disposition of the motion by the




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      Court, the Party alleged to be in violation of or intending to violate this Order shall

      discontinue the performance of and/or shall not undertake the further performance of any

      action alleged to constitute a violation of this Order.

28.   Production of DESIGNATED MATERIAL by each of the Parties shall not be deemed a

      publication of the documents, information and material (or the contents thereof) produced

      so as to void or make voidable whatever claim the Parties may have as to the proprietary

      and confidential nature of the documents, information or other material or its contents.

29.   Nothing in this Order shall be construed to effect an abrogation, waiver or limitation of any

      kind on the rights of each of the Parties to assert any applicable discovery or trial privilege.

30.   Each of the Parties shall also retain the right to file a motion with the Court (a) to modify

      this Order to allow disclosure of DESIGNATED MATERIAL to additional persons or

      entities if reasonably necessary to prepare and present this Action and (b) to apply for

      additional protection of DESIGNATED MATERIAL. Furthermore, without application

      to the Court, any party that is a beneficiary of the protections of this Order may enter a

      written agreement releasing any other Party hereto from one or more requirements of this

      Order even if the conduct subject to the release would otherwise violate the terms herein.


So ORDERED and SIGNED this 29th day of March, 2022



                                HONORABLE ALAN D ALBRIGHT
                                UNITED STATES DISTRICT JUDGE




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                     IN THE UNITED STATES DISTRICT COURT
                      FOR THE WESTERN DISTRICT OF TEXAS
                                WACO DIVISION


 COMMWORKS SOLUTIONS, LLC,

                                       Plaintiff,    Civil Action No.: 6:21-CV-00366-ADA

 v.                                                           Jury Trial Demanded

 COMCAST CABLE COMMUNICATIONS, LLC
 AND COMCAST CABLE COMMUNICATIONS
 MANAGEMENT, LLC,,


                                     Defendants.


                            APPENDIX A
         UNDERTAKING OF EXPERTS OR CONSULTANTS REGARDING
                        PROTECTIVE ORDER
      I, ___________________________________________, declare that:

1.    My address is _________________________________________________________. My

      current employer is _________________________________________________. My

      current occupation is ________________________________________________.

2.    I have received a copy of the Protective Order in this action. I have carefully read and

      understand the provisions of the Protective Order.

3.    I will comply with all of the provisions of the Protective Order. I will hold in confidence,

      will not disclose to anyone not qualified under the Protective Order, and will use only for

      purposes   of this    action    any   information    designated   as   “CONFIDENTIAL,”

      “CONFIDENTIAL - ATTORNEYS’ EYES ONLY,” “CONFIDENTIAL – OUTSIDE

      ATTORNEYS’ EYES ONLY,” or “CONFIDENTIAL - SOURCE CODE” that is

      disclosed to me.



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4.    Promptly upon termination of these actions, I will return all documents and things

      designated as “CONFIDENTIAL,” “CONFIDENTIAL - ATTORNEYS’ EYES ONLY,”

      “CONFIDENTIAL - OUTSIDE ATTORNEYS’ EYES ONLY,” or “CONFIDENTIAL -

      SOURCE CODE” that came into my possession, and all documents and things that I have

      prepared relating thereto, to the outside counsel for the party by whom I am employed.

5.    I hereby submit to the jurisdiction of this Court for the purpose of enforcement of the

      Protective Order in this action.

      I declare under penalty of perjury that the foregoing is true and correct.

                                     Signature

                                     ________________________________________

Date _______________________, 2022.




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